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         Exhibit 1
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                                                                          - 1 of 10-                                                               . OFFICIAL RECORD'!
FD-302 (Rev. 5-8 -10)
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                                                                                                                                                   ..........................................................
                                                    FEDERAL BUREAU OF INVESTIGATION                                                                                                                             ~




                                                                                                                           Date of entry       O? /04 /?O?l


                  ERIKA CHEUNG (CHEUNG ) , was inter viewed in Oakl and , California .                                                                Al so
         presen t         f or t he int erview were Assist ant United St a t es Atto rney                                                     (AUSA )
         Van essa Bae hr- J o ne s a n d AUSA Bob Leach .                                    After being a dv ised of the ide nt i t y
         of t h e interviewi ng Agent and t he natu re o f the i n t er vi ew, CHE UNG pro vi ded
         t h e foll owi ng in fo rma ti on :

                CHEUNG g raduated from the Un i versity of California at Berke l ey wi th
         degrees in Molecu lar and Cellular Biol ogy and L inguis tic s .                                                            CHEUNG had
         co nsidered obt aini ng a PhD i n some t h ing that wo uld promo t e heal t h care .

               Aft e r gra duat i ng from UC Berke l ey , CHEUNG stumbled upon Theranos at a
         career fai r .               CHEUNG was att r acted t o the c o mpa ny because i t had a s t ro ng
          femal e founde r in ELIZABETH HOLMES (HOLMES ) , but n ot a l ot was kn own about
         t he company a t t he t i me .                        CHEUNG descri bed HOLMES a .s being very charisma t ic
         and hav ing a way o f g et ting what                                she wa nt ed .             As a recent graduate CHEUNG
         did n ot thi n k she could be too c h oosy in finding her                                                     f i rst     job .       CHEUNG was
         so excited abou t working f o r Th eranos that she did no t even know wha t j ob
         she wa s applying f or .

               vm1en fi rst appl y i ng t o Ther anos , CHEUNG fi r st spoke with r ecru iters
         JE SSICA PERRICONE and LEONE PI LAF .                                     The next s tage of the inte rview process
         wa s a p h one screen intervi e w wi t h MAX FOSQUE .                                            Af ter thi s p h o ne scre e n
         CHEUNG interviewe d with SARAH CABAY.Al\f and KERI ELENI TOBA-JOHNSON .                                                                   Th e n a t
         t h i s point CHEUNG i n te rviewed wit h SUNNY BALW.Al\fI                                            (BALWANI ) but              t h ey cha nged
         t he position s he was appl ying for f r om a p o siti o n i n the clini c a l                                                          lab t o a
         posi tion in t he r esearc h a nd dev elopment l ab .                                            Aft er interviewing wi th
         BALWANI , CHEUNG the n in t erv iewed with HOLMES .

                On CHEUNG' s f i rst day at Th erano s s he met wit h the Secur i t y t eam a nd
D
         signed some docume n t s .                        CHEUNG t h e n me t with CHRISTIAN HOLMES (CHRIS TIAN) ,
         who d iscusse d t he fac t that they worked with Top Sec ret informat ion a t




     Investigationon    11/30/202 0 at Oak land , Califo r n i a, United States (In Per son )
    File #   318A- SF- 7315857                                                                                                Date drafted    11/30/2020
    by    Ma r i o C . Scuss el
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          Thera nos a nd t hey shoul d not tal k abou t i t .         CHRI ST I AN a l s o advi sed that
          they s ho ul d no t put t hat t hey worked a t The r anos on t he i r Li nkedi n profi les
          be cau se other compani es woul d use that to figu r e o u t what Theranos was
          doing.    There was no offi cia l on-bo a r ding p rocess a t Theranos , but CHEUNG
          was h ired a t the same t ime as t h r e e o the r a s sociates .        Thes e other
          asso c i a tes inc l uded AURELI E SOUP PE (SOUPP E) , ROMINA RE INER (RE INER) , and
          J AMI E LI U.

                CHEUNG worked in the r esearch a nd development l ab , which had o pen f l oor
          seat i ng . CHEUNG was sat next to the Seni o r Sc i enti sts . All of the Edison
          devices were l oca t e d i n the rese arch and d ev el o pment l ab . When CHEUNG
          st arted wor king at Theranos t here were t wo di ff erent ve r s i ons o f the device
          and she estimat ed there were approximat ely 49- 50 of each ve rsio n of the
          d e vi c e i n t he l ab a t t he t i me .

                CHEUNG was assigned to the Amino Assay t eam, which was l ead b y SHARADA
          SIVARAMAN a t t he t i me .        Everyt hi ng i n t he l ab was done i n mul t i pl es of
          three , meaning it would be run on three different machines .                     Other people
          wh o knew how t o use t he Ed i sons i ncl uded the three associates who started
          with CHEUNG , SAMANTHA NGUYEN and DARREN LNU .

             On CHEUNG' s f i rs t d a y a t The r a nos she was j u s t reading prot ocols , and in
          the next days she started working in the l abs wor king on val idation studi es
          and preci s i o n t est ing , which invol ved a l o t of pipet t i ng .        Some o f the blood
          Theranos used for testi ng was purchased commercial ly, while some was do nated
          by Theranos employees .            CHEUNG often donated bl ood herse l f for tes t ing
          purposes .

                REINER , who a l so donated b l ood fo r testing , once go t a very high
A, B
          t est os t e r one resu lt f r om a The r anos bl ood test and was worri ed t hat it might
          be indicative of fertility issues. CHEUNG a l so recalled SURAJ SAKSENA
          (SAKSENA ), the head of Immunoa ssay development , g e tting a high PSA res ult .
          A l ot of empl oyees stopped do nat ing because if t hey got a bad or strange
          resul t they did not know if it was indicative of a n actual probl em and
          whether they woul d need to see a physician as a resul t of the test .

                SAMARTHA ANEKAL (ANEKAL) was in charge o f medical device s and e ngineering
          at The ranos .       Another SUNNY , not BALWANI , was in c harge of Software.

               At The r a nos t he organizati o nal s t ructu re had HOLME S and BALWANI i n charge




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          and underneath them was DANIEL YOUNG (YOUNG) then under YOUNG was
          CHRISTIAN-

             Others CHEUNG worked with incl uded PAUL PATEL i n General Chemis t ry,
          NISHIT DOSHI, MARK PANDORI (PANDORI), ARUNA Las t Name Unknown (LNU) .


  A          PANDORI and ADAJvl ROS ENDORF F were i n the cl inical l ab . LI DONG go t f i red
          from the clinical lab after onl y a few mont hs and was very criti cal of
          Thera nos.

                KARTHIK LNU (KARTHIK ) was a stat i s tic i an who would observe how they were
A, B      genera ting answers. When there was a n i s s ue, BALWANI wo uld say t hat he
          check with KARTHIK who advised him t hat there was a b ug whi ch cau sed the
          issue , but e ve rything was ok with the t e s ts . However, when CHEUNG asked
          KARTHIK abo u t resul ts , and he advised her t hat there was a bug , but that the
          bug d id not change the results, and as a resul t was n o t the issue .                    There
          were so man y issues at Theranos i n reg ards to testing .

             Some assays had to g o bac k t o de vel opment . CHEUNG was very concerned
          about the Hepatitis C assay . When s he went to find the standard operat i ng
          proce dure s        (SOP ) for the t e st she found tha t a ll the c a rtri dges had
          expired.        There was no good SOP fo r the Hepati t i s C assay s o CHEUNG went t o
          ROSENDORF and a dvised him that she d id not trust the tes t and refused to do
          the test . ROSENDORF and PANDORI go t invo l ved and dec i ded to do the test v ia
          finge r-stick usi n g FDA approved machi n e s.         So they e nded up ta ki ng this t est
          of f b ecause CHEUNG had rai s e d t he issu e .

                CHEUNG had ke p t a s preadshee t of i ssue s and p r o vi ded it t o LANGLY GE E
           (GEE) .      CHEUNG had also provided PANDORI this i nfor mat ion whi ch compared
          Thera nos devi ces to FDA approved devices .

                CHEUNG was shown THP FM0 0001 70837 a n email from REI NER to PANDORI, CHEUNG,
          and SOUPPE o n March 5, 201 4 t i t l ed " SCU 1 5 75 fol low-up / outlier d e l etion by
          CLAs ".       This email d e monstrat e d an exa mpl e of r unning Qualit y Control ' s         (QC )
          before runni ng a pat ient a nd the QC ' s were u sual l y way o ff .         One coul d t hen
          try to r e r u n the QC or r e - ca librat ing the machi ne . CHEUNG was try i ng to
          reason with PANDORI about running QC ' s. Some data points for t hese QC ' s
          we re t hrown out afte r running mul tipl e QC ' s .        Thera nos had a protocol of
          running a QC unti l i t p assed , b u t this protocol was not in the SOP .                 If they
          saw the same mistake s repe ating then they had to f i g ure o u t what was go i ng




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          o n with the s y s tem, if t he system wa s wor ki ng and if they coul d proceed wi t h
          running a p a tient sampl e.           The r e was so much pressure to ge t a sample out
          that they woul d p ush sampl es through .

                Th ere was a No r ma ndy 91 1 he lp li ne, wh i c h CHEUNG l at e r f ound out we n t
          throug h BALWANI and SAKSENA .             On Tha n ksgi ving wee ke nd in 20 1 3 , CHEUNG s ent a
          note through t he Normandy 911 line about having a problem with a sample in
          t hat she coul d not get the QC to work . CHEUNG was new a t the t i me s he sent
D         t h is note . The response s he received was that she needed t o get the patient
          test o u t . Theranos had an associat e wi th mo r e experi ence come i n and she
          dele t e d t he outli e rs to get t he QC t o p ass . The way associ a t es we r e t r ained
          at Th eranos was t o run t wo d iffe r e nt tubes in thre e dev i ces in o r de r to get
          six dat a poi nt s for each pat ient.                They would then send someone i n to del e te
          t he d a ta points n e c e ssary i n o r der to make it p ass the QC . Accordingl y
          Thera no s was just fi ndi ng a way t o make sur e they cou ld run t he pat i ent
          s a mpl e .      The p r o blem woul d be if one saw the same vari abil it y in a pat ient
          sample .

             Onc e a test re s ul t was generat e d, t hey coul d not t hrow out that resul t,
          and the technician coul d not make judgement call. Sometimes they r an a
          pati e n t 's s amp l e o ve r and ove r.      CHEUNG recal l ed runn i ng o ne t est         t hat ke p t
          getting different results .

               Whe n a p ati ent went int o t he Pal o Alt o test i ng l ocat i on t hey woul d h a ve
          their blood drawn by finger- stick then the samp le would be taken to the
          lab .         The lab would rec e i ve approximately three shipments of samples a day .

                CHEUNG went to Human Resources (HR) a few times with issues incl uding the
          Hepatitis C test to put her foot down and say that she was not going to run
          the t es t.        At t hi s poi n t CHEUNG had access t o c l ini ca l lab documents and
          research and development l ab documents.                   CHEUNG showed the val idation report
          and t he e xpire d cartridges .

             CHEUNG, PANDORI , and ROSENDORF made a decision to send proficiency
          testing to reg ul ators i n Janu ary/ February because of errors on the Ed i son .
          BALWANI was mad that they did this because the p rofi c i e ncy test ing showed
          t h ere was a bi g d i fference be tween t he The ranos devi ces and t he FDA approved
          devices . BALWANI sent an email t o CHEUNG, PANDORI , and ROSENDORF saying
          there are no devi ces comparable to Theranos ' devices , so regulato rs would




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          not know what to do with them.            BALWANI would then start replyi ng to emails
          he was not included on , so it appeared that BALWANI was monitoring their
          emails.

                The ELISA team wo rked on Immunoassays, as ELISA i s a type of chemistry
          used to r un a te st .       The ELISA team was i n charge of the Edison dev i ces .

                CHEUNG was shown THP FM0001362139, an emai l chain from March 28, 2014
          titl e d "Failed QC" with a tabl e ti t led "March ELI SA QC FAI LURE S".               Theranos
          was r unni ng experiments to determine how often t he Edison got it right
          across all tests on their testing menu . This in fo r mation was then prov ided
A, B      to GEE. GEE came back and sa id that these were the failures on each of t he
          tests for QC data, some o f wh i c h had a 50% fail ure ra te .         The dat a i n thi s
          table was for one month o f testing .

               At that t i me Theranos was not even l ooking at this in fo r mat i on , they wer e
A, D
          j ust telling lab clinicians to get the QC ' s to pass and do whatever they
          needed to do in order to get the QC to pass . CHEUNG and others t ook i t upon
          themse l ves to check this . They were never given a protocol fo r how to
          r emove outliers.        Theranos was able to pass validation t e s t s in the f irst
          place because they knew the range they needed to get to so t hey would remove
          the outliers n ecessary in order to get to the poi nt where it would pass .
          SIVARAMAN was the person who to l d CHEUNG that they needed to take out these
          data po ints.

                CHEUNG t hen had a meet i ng with PANDORI, ROSENDORF, a nd GEE and she was
          moved to the clinical lab , which she was no t happy about . CHEUNG then
          l earned about Wes t gard r ules , which stated that one coul d not have two
          fai l ures i n a row .     After two consecu t i ve fai lures one would have to shut
          down the d evice and do a f ull inves t igati on as t o why i t failed .           As a
          result , CHEUNG found out that they were even worse than they had thought.

               At one point CHEUNG was asked to creat e an SOP because she had experience
          in both the research and development l ab and the clinical lab.

                ROSENDORF and PANDORI seemed l i ke they were recept ive to CHEUNG ' s
          complaints about errors being rampant and QC ' s not p assi ng.  PANDORI advised
          CHEUNG to document everything , compi l e evidence, a nd they would take i t to
          HOLMES and BALWANI .




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             The clinical lab was not seeing what was happening in the research and
          development lab in order to get a validation report_

             ANDREW SU (SU) and TYLER SHULTZ (SHULTZ) were working on precision
 A, B
          testing in a validation study which was being conducted over three days
          instead of three months. CHEUNG advised it is important to test over a
          longer period of time and different people. However, there was pressure
          from HOLMES and BALWANI to get validation studies and reports done. HOLMES
          and BALWANI were constantly wanting them to push to validate assays.
          SIVARAMAN and other team leads communicated this pressure from HOLMES and
          BALWANI to CHEUNG.

             The study CHEUNG had done regarding the QC failure rate prompted her
          meeting with BALWANI. CHEUNG was communicating with SHULTZ who was working
          on the Hepatitis C validation study, and CHEUNG knew he was writing an email
          regarding issues in the syphilis validation study. SHULTZ had a meeting
 A, B
          with HOLMES and BALWANI about the issues in this study and quit after the
          meeting. BALWANI knew CHEUNG was sending data to SHULTZ so BALWANI called a
          meeting with her which took place in his office with only the two of them
          present for the meeeting. CHEUNG mentioned issues about the data and
          BALWANI went off on her, asking her where she went to school, and saying she
          was just a recent grad so she did not know what she was talking about.
          BALWANI proceeded to cite all the accolades that Theranos had received.
          BALWANI gave CHEUNG an ultimatum advising that she needed to do what he paid
          her to do which was to process patient samples. CHEUNG then decided she
          could not work at Theanos any longer because BALWANI, the Chief Operations
          Officer (COO), would not listen to the problems she had presented to him,
          and these were issues that could have an effect on people's health. After
          the meeting CHEUNG cried because she really wanted the Theranos machine to
          work, but she saw the ugly truth that these people did not care. CHEUNG was
 C
          shattered to see that leadership did not care about protecting their
          patients. When CHEUNG left the office after the meeting, she went to
 C        PANDORI's office sobbing then took the rest of the day off.

             CHEUNG then called SHULTZ who had quit the day before, and he was going
          to be having dinner the next day with his grandfather GEORGE SHULTZ, who was
          on Theranos' board of directors. CHEUNG asked to join SHULTZ at diner to
          try to convince his grandfather to help present the information they had
          obtained about issues with Theranos' testing. The next day CHEUNG went with




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          SHULTZ to his grandfather's home and they presented what they knew and said
          what they were telling him was what was happening_ They provided an example
  A       of when investors got their blood tested when they left the room a team of
          people was responsible for executing the testing. They also advised GEORGE
          SHULTZ that the Edison was not working, and it was not on par with what he
          was reading. GEORGE SHULTZ responded saying he had brought in a lot of
          people.

             CHEUNG decided to quit the next day, and had one last conversation with
A, B      KARTHIK. This was when CHEUNG asked KARTHIK about the bug BALWANI cited as
          being the problem/reason test were failing. KARTHIK advised that here was a
          small bug, but that was not the issue and was not the reason for the
          problems.

             CHEUNG put in her two weeks notice and she was contacted immediately by
A, D      security. CHEUNG then went to MONA RAMAMURTHY's (RAMAMURTHY) office.
          RAMAMURTHY advised her that she could not take any information and asked to
          see what CHEUNG had in her backpack. RAMAMURTHY confiscated CHEUNG's
          resignation letter after finding it in her backpack          and said this was the
          type of information she could not have. CHEUNG was           then escorted off the
          premises by Security. CHEUNG had several copies of           the resignation letter
          as she wanted to memorialize the time stamp of when          she left and her reason
          for leaving.

             Every time Theranos got a result that could affect a patient diagnosis it
          was sent up the chain to make sure the QC's were correct. Then a clinical
          lab scientist (CLS) would review the results. However, the CLS did not see
          what they were doing in the clinical lab. The clinical lab team would say
A, B      they were vetting the CLS to see if they could be trusted before allowing
          the CLS into the lab. When a result was flagged in the Laboratory
          Information System (LIS) as a critical result, the CLS would have interacted
          with the result.

             Some of the tests that had unacceptable critical values included TPSA,
          Vitamin D, TSH, TTB, FT4, and testosterone. There was a spreadsheet that
          would track the testing issues.

             The LIS database contained everything needed to process a patient
          sample. This included patient data, doctor information, name of CLS that




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          worked on a sample, precision testing, clinician information, QC data, most
          recent regulator information, and clinical information which included
          patient results and flags which could include critical and urgent. LIS also
          had an error reporting section which could be queried.

             When leaving Theranos, CHEUNG met with some of her colleagues and told
          them she was leaving and that she would stay in contact. CHEUNG was
 C        depressed at the time and took a break from working. CHEUNG then got
          another job working for Antibody Solutions, a Biotech company in Sunnyvale,
          California working on therapeutics and diagnostics. CHEUNG kept in contact
 A        with her colleagues from Theranos and heard about PANDORI quitting shortly
          after she had left the company. CHEUNG also heard about THEAANOS on­
          boarding assays which they had previously shut down.

             CHEUNG got a call from the Wall Street Journal and had a meeting with
          JOHN CARREYROU (CARREYROU) to tell him her side of the story. CHEUNG
          decided to talk to CARREYROU because she wanted the truth to get out and she
          wanted them to stop patient testing, which was her main focus. CARREYROU
          gave Theranos a chance for rebuttal. Theranos then started calling all
 A
          former lab clinicians. CHEUNG knew they would be calling so she did not
          answer phone calls from RAMAMURTHY. CHEUNG advised that RAMAMURTHY's voice
          sounded scared on the voicemail she left for CHEUNG.

             Then, CHEUNG was working late one night and there was a man sitting in
          the parking lot at her workplace. Two co-workers saw the man and walked
 D
          CHEUNG out to her car. The man in the parking lot approached CHEUNG and
          gave her a letter from Boies Schiller threatening litigation in regards to
          the non-disclosure agreement (NOA) she had signed with Theranos. The
          address on the letter was for a residence she had only been staying at
          briefly with a friend as she was between residences at the time.
          Accordingly, it seemed to CHEUNG that she was being followed, which scared
          her and rattled her sense of personal safety.

             CHEUNG later learned she could report Theranos to a regulatory agency
          from an attorney who handled health care fraud. CARREYROU referred this
          attorney to CHEUNG. So CHEUNG reported the information she had on Theranos
          to CLIA in hopes of getting them to stop patient testing on Edison devices.
 A        In September 2015 CHEUNG sent a letter to the Center for Medicare and
          Medicaid Services (CMS). After CHEUNG sent her email, GARY YA1'1AMOTO sent an




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          email saying they were going to conduct an investigation. CHEUNG knew CMS
          was conducting an investigation, and CARREYROU's first article was published
          a couple of months later. CHEUNG stopped engaging after CMS published the
          results of their investigation and Theranos stopped processing patient
          samples.

             CHEUNG moved to Hong Kong in October 2016, and did not know what she was
          going to do there when she moved. When she arrived in Hong Kong CHEUNG
          worked to help build out the entrepreneurial ecosystem. While in Hong Kong,
 D        a Private Investigator (PI) showed up at her workplace serving her with a
          subpoena for her to be deposed in the Partner Fund Management (PFM) lawsuit
          against Theranos.

             The Judge in the PFM case allowed the documents to become public so
          CHEUNG's name started to show up in the news. Since her name was made
          public CARREYROU convinced her that she should control her story so she
          decided to go on the record.

                CHEUNG had a minimal amount of interaction with HOLMES while she was at
          THERANOS, estimating she interacted with her approximately four times which
          included being interviewed by her during the hiring process.

             CHEUNG worked primarily in the CLIA lab and was rarely in the Normandy
          lab. CHEUNG was in the lab when regulators were in the building. They were
          told not to show regulators the Normandy lab. SIVARAMAN told them to clean
          their stations and sit at their desks and not to be in the clinical lab when
          the regulators were there. SIVARAMAN told CHEUNG that they did not show the
A, D
          regulators the Normandy lab during their inspection, which was frustrating
          because they had worked to prepare the lab for the visit. CHEUNG was able
          to see the regulators when they departed Theranos. There was a lot of
          anxiety at Theranos around the inspection and there was a rush to get
          everything clean.  There were mobile boundaries which made it difficult to
          see what others were doing. Everyone was on edge as they did not want to be
          asked questions by the regulators as they did not want to be the one to
          cause a problem.

            CHEUNG has spoken with a literary agent about publishing on the topic of
          speaking truth to power.

               Documents shown to CHEUNG during the interview are attached and will be




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